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WESTERN DISTRICT OF WASHINGTON
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

21-cv-5891 Pe

Detome 1c Elfoy CASE NO.
[to be filled in by Clerk’s Office]

 

COMPLAINT FOR A CIVIL CASE

 

Jury Trial: LJ Yes No
Plaintiff(s), v yA

 

 

 

Defendant(s).

 

 

I. THE PARTIES TO THIS COMPLAINT
A. Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name Detame 2 FUOY

Street Address DAF SE WAShin ie) ton Ave
Cityand County Chehalis  Aeuwss |
State and Zip Code YA Shincston FES 32.
Telephone Number C30 ) Gi Sp ~Y5O/

COMPLAINT FOR A CIVIL CASE - I

 
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B. Defendant(s)

Provide the information below for each defendant named in the complaint, whether the
defendant is an individual, a government agency, an organization, or a corporation. For an
individual defendant, include the person's job or title (if known). Attach additional pages if
needed.

Defendant No. 1

Name

Age acy Clen Known)
Job or Title (if known) 7 a

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Defendant No. 2

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Defendant No. 3

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

COMPLAINT FOR A CIVIL CASE - 2

 
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Defendant No. 4

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Il. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under
the United States Constitution or federal laws or treaties is a federal question case. Under 28
U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and
the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

[) Federal question O Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

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COMPLAINT FOR A CIVIL CASE - 3

 
 

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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual.
The plaintiff (name) , is a citizen of the

State of (name)

 

b. Ifthe plaintiff is a corporation.

 

 

The plaintiff, (name) , iS incorporated under
the laws of the State of (name) , is incorporated under
the laws of the State of (name) , and has its principal

 

place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing
the same information for each additional plaintiff.)
2. The Defendant(s)
a. Ifthe defendant is an individual.
The defendant, (name) , is a citizen of the
State of (name) . Or is a citizen of

(foreign nation)

 

b. Ifthe defendant is a corporation.
The defendant, (name) , is incorporated under
the laws of the State of (name) , and has its principal

place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ,

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)

COMPLAINT FOR A CIVIL CASE - 4

 
 

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3. The Amount in Controversy.
The amount in controversy-the amount the plaintiff claims the defendant owes or the

amount at stake-is more than $75,000, not counting interest and costs of court, because (explain):

*

 

 

 

Il. STATEMENT OF CLAIM

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as
possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
State how each defendant was involved and what each defendant did that caused the plaintiff
harm or violated the plaintiff's rights, including the dates and places of that involvement or
conduct. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

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IV. RELIEF

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
not make legal arguments. Include any basis for claiming that the wrongs alleged are continuing
at the present time. Include the amounts of any actual damages claimed for the acts alleged and
the basis for these amounts. Include any punitive or exemplary damages claimed, the amounts,
and the reasons you claim you are entitled to actual or punitive money damages.

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V. CERTIFICATION AND CLOSING
Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

COMPLAINT FOR A CIVIL CASE - 5

 
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purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of
Rule 11.

I agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. I understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case.

 

Date of signing: Derr
Signature of Plaintiff ZAem 2 LEE. a

Printed Name of Plaintiff /)¢ L2p, LALO.

Date of signing:

 

 

Signature of Plaintiff

Printed Name of Plaintiff

 

Date of signing:

 

Signature of Plaintiff

 

Printed Name of Plaintiff

 

COMPLAINT FOR A CIVIL CASE - 6

 
